Case 2:08-cr-00671-DAK Document 549 Filed 08/28/12 PageID.2259 Page 1 of 2




     IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                      CENTRAL DIVISION


UNITED STATES OF AMERICA,
                                                          MEMORANDUM DECISION AND
                       Plaintiff,                           ORDER GRANTING EARLY
                                                          TERMINATION OF SUPERVISED
v.                                                                RELEASE

GREGORY CROSBY,                                                 Case No. 2:08CR671DAK

                       Defendant.                                 Judge Dale A. Kimball




       This matter is before the court on Defendant Gregory Crosby’s motion for early

termination of supervised release. On August 17, 2010, the court sentenced Defendant to 12

months and one day incarceration with the United States Bureau of Prisons followed by a 36-

month term of supervised release. On August 18, 2011, Defendant was released from custody

and began serving his term of supervised release. Therefore, Defendant’s term of supervised

release is not scheduled to terminate until August 17, 2014.

       Pursuant to 18 U.S.C. § 3583(e)(1), after considering the factors set forth in Section

3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), and (a)(6), the court may terminate a

term of supervised release “at any time after the expiration of one year of supervised release . . .

if it is satisfied that such action is warranted by the conduct of the defendant released and the

interest of justice.” The factors to be considered in Section 3553(a) are those factors to be

considered in imposing a sentence, including “the nature and circumstances of the offense and
Case 2:08-cr-00671-DAK Document 549 Filed 08/28/12 PageID.2260 Page 2 of 2




the history and characteristics of the defendant,” the applicable sentencing guidelines and any

policy statements issued by the Sentencing Commission, and the need for the sentence imposed

to promote respect for the law, to provide just punishment, to deter other criminal conduct, and to

provide the defendant with needed services. See 18 U.S.C. § 3553(a).

       The court has contacted Defendant’s probation officer and the Assistant United States

Attorney on this case and has learned that they do not oppose early termination. Defendant has

complied with all the terms of his supervised release and, according to his probation officer, gone

above and beyond what was expected of him. Defendant has been engaged in two-and-a-half

times as much service hours as was required. He and his wife have also been assisting the

probation office with the Pre-Trial Pathways program. Defendant seeks early termination so that

he and his wife can serve a full-time mission for their church. The court believes that

Defendant’s conduct demonstrates that he has turned his life around. Based on Defendant’s

conduct during his term of supervised release, the court finds that an early termination of

supervised release is warranted. Accordingly, the court grants Defendant’s motion for early

termination of supervised release.

       DATED this 28th day of August, 2012.

                                              BY THE COURT:




                                              DALE A. KIMBALL
                                              United States District Judge




                                                 2
